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            EXHIBIT A-39
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               DISTRICT OF COLUMBIA COURT OF APPEALS
                                                                                   Aug 11 2022 8:52am

               BOARD ON PROFESSIONAL RESPONSIBILITY

                                       Under Seal

 In the Matter of

 JEFFREY B. CLARK                                    Disciplinary Docket No.

 A Member of the Bar of the District                 2021-D193
 of Columbia Court of Appeals
                                                     UNDER SEAL
 Bar No. 455315                                                                   Redacted Version
                                                                                     9/8/2022
 Date of Admission: July 7, 1997


                 SEALED RESPONSE TO THE BOARD’S
                    AUGUST 8TH SEALING ORDER
                      INCLUDING A CALL FOR
                     AFFIRMATIVE RELIEF AND
                  INCORPORATED MOTION TO SEAL

       Comes now the Respondent and submits proposed redacted filings pursuant

to this Board’s August 8th Order. Respondent seeks clarification on the scope of

the Order and requests that all of the proceedings be sealed.


                         PROCEDURAL BACKGROUND

       On August 3 Respondent filed a Motion for Extension of Time to file a

response to the Office of Disciplinary Counsel’s (ODC’s) petition. Mtn. to Extend

(8/3/22).1 The motion relied among other things on

                                                                                 and


1 The Motion was later granted by the Hearing Committee over strenuous ODC objection.
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impairment of Respondent’s ability to defend this case caused by DOJ seizure of

most of his electronic devices. Id. at 2-3.




         On August 5, Respondent moved to seal the Motion to Extend and related

reply brief. ODC consented to the request. Although the motion did not

specifically reference the DOJ seizure, it requested that the filings be placed under

seal in their entirety. ODC also moved to seal its opposition to the Motion for

Extension.

         On August 8th the Board issued an Order granting all motions to seal but

ordering redacted versions of all pleadings be filed publicly. The Order called for

redaction of “confidential information”




         On August 8th, ODC filed a redacted version of its opposition but failed to

redact




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                               .

        EXPLANATION OF RESPONDENT’S PROPOSED REDACTIONS

   I.


        As stated above, this Board has allowed redaction

                                                                . This Order of the

Board should naturally be read to include

                                                              . Interpreting this

Order any other way would




        Specifically, ODC’s false allegations that Respondent attempted to avoid

service of process in bad faith, and Respondent’s response thereto, should be

received by this Board under seal.




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   II.      Information Relating to the Current Criminal Investigation2 of
            Respondent Should be Redacted and Received by This Board Under
            Seal.

         Although not specifically referenced in the Motions to Seal, Respondent

submits that it would be appropriate to receive nonpublic information relating to

the federal criminal investigation of Respondent under seal. Although federal

agents’ raid of Respondent’s home was widely reported, Respondent’s Motion for

Extension reveals nonpublic details about his employment, communications

between counsel and DOJ, and particular devices seized from Respondent’s home.

Mtn. at 2-3. Disclosing this information would prejudice Respondent’s rights to

privacy and assistance of counsel, and would also trigger unhelpful media efforts

to “read between the lines” or even wildly speculate. Sealing this material will not

prejudice the public’s legitimate interest in these proceedings because, as stated

already, the essential newsworthy fact that federal agents raided Respondent’s

residence has been long been public knowledge.

   III.     All Proceedings Before the Board Should Remain Sealed


          On August 11, 2022 (tomorrow), Respondent will lodge with the Board a




2 Respondent denies all wrongdoing (criminal and otherwise) and believes the DOJ investigation
of his public service is legally and factually flawed.

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                    RESPONDENT’S PROPOSED FILINGS

      Included with this filing are two redacted versions of Respondent’s Motion

for Extension and Reply. Exhibit B (Motion) and C (Reply) are redacted according

to the requests made in this filing;

                      and to the pending federal investigation of Respondent are

          redacted. Respondent proposes that if all proceedings running from the

filing of the Charges are not to be placed under seal (our primary position) at the

very least this set of redacted versions is the more appropriate response to the

Board’s August 8th order.

      Out of an abundance of caution, and to avoid any perception of failure to

comply with the August 8th order, however, Respondent has included a second set

of redacted documents. See Ex. D (Motion) – E (Reply).



                                          . Respondent submits, however, that

these redactions flow from an unnatural and overly literal reading of the August 8th

order. If the Board does not order the affirmative relief covered in the next section,

at the very least it should receive Exhibits B & C, and not Exhibits D & E, as the

official public version of the Motion for Extension defense filings. Relatedly, if the

Court agrees that Exhibits B & C embody the better approach, it should order




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Disciplinary Counsel to re-redact his own filing consistent with revised

instructions to be issued by the Board.4

                       INCORPORATED MOTION TO SEAL

       Respondent respectfully requests that this Board receive the instant filing

(i.e., this motion including Exhibit A) under seal. Under even the strictest reading

of the Board’s August 8th order, this filing by necessity references information

ordered to be received under seal. And if the Board rejects our primary position

that all filings in this case should be sealed and issues further guidance on the

scope of the August 8th order’s redaction provisions, Respondent will be pleased to

submit a redacted version of this filing pursuant to that guidance.

                                       CONCLUSION

       For the foregoing reasons, Respondent requests the Board to hold all filings

under seal pending resolution of the matters before the Court of Appeals. In the

alternative, Respondent requests this Board receive Exhibits B & C as a properly

redacted filing pursuant to the August 8th order. Respondent further requests that

this Board strike ODC’s redacted filing with instructions to refile in conformity




4 By proposing a preference for Exhibits B&C to be filed rather than Exhibits D&E, Respondent
should not be interpreted to be waiving the broader argument made above in Section III. that all
filings in this case should be placed under seal pending resolution of the sealed cased before the
D.C. Court of Appeals.

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with the Board’s ruling on this pleading, insofar as ODC’s redacted filing is at

variance with those instructions.

      Respectfully submitted this 10th day of August, 2022.

/s/ Charles Burnham                           Robert A. Destro*
                                              Ohio Bar #0024315
Charles Burnham                               4532 Langston Blvd, #520
DC Bar No. 1003464                            Arlington, VA 22207
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                         CERTIFICATE OF SERVICE

      I hereby certify that I have on this day served counsel for the opposing party

with a copy of this Motion to File Under Seal by U.S. First Class Mail with

sufficient postage thereon to insure delivery, and by email addressed to:

      Hamilton P. Fox
      Jason R. Horrell
      D.C. Bar
      Building A, Room 117
      515 5th Street NW
      Washington DC 20001
      foxp@dcodc.org

      This this 10 day of August, 2022.


                                       /s/ Charles Burnham
                                       Charles Burnham
                                       DC Bar No. 1003464
                                       1424 K Street, NW
                                       Suite 500
                                       Washington DC 20005
                                       (202)3866920
                                       charles@burnhamgorokhov.com




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              DISTRICT OF COLUMBIA COURT OF APPEALS
              BOARD ON PROFESSIONAL RESPONSIBILITY
In the Matter of

JEFFREY B. CLARK                                  Disciplinary Docket No.

A Member of the Bar of the District               2021-D193
of Columbia Court of Appeals
Bar No. 455315

Date of Admission: July 7, 1997


                EXPLANATORY NOTICE REGARDING
                            OMITTED EXHIBITS

      This filing is submitted to comply with the Board Chair’s Order of

September 2, 2022 regarding redactions.

      That Order directed the public filing of documents filed under seal after

August 8, but redacted in accordance with the September 2, 2022 Order. This filing

is one such filing that is required to be made in redacted form.

      The original sealed filing of this document included four Exhibits, A-E.

These exhibits are not attached to this public filing for the following reasons:

 Exhibit A              This document would be redacted in its entirety under the
                        September 2, Order, so there is no need to file it.

 Exhibits B and C       Proposed redactions of Respondent’s Motion for
                        Extension of Time and Reply Brief in Support of Motion
                        for Extension of Time that were rejected in the September
                        2 Order.
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 Exhibits D and E      Proposed narrower redactions of the same filings as
                       Exhibits B and C. It is not necessary to file these here
                       because the September 2 Order attached approved
                       redactions of these documents and directed that they be
                       filed by the Office of the Executive Attorney on
                       September 6, 2022.


      If this treatment of the Exhibits is not acceptable to the Hearing Committee

or the Board Chair, Respondent will promptly re-file as directed.

      Respectfully submitted this 8 day of September, 2022.

/s/ Charles Burnham                          Robert A. Destro*
Charles Burnham                              Ohio Bar #0024315
DC Bar No. 1003464                           4532 Langston Blvd, #520
Burnham and Gorokhov, PLLC                   Arlington, VA 22207
1424 K Street, NW                            202-319-5303
Suite 500                                    robert.destro@protonmail.com
Washington DC 20005                          *Motion for pro hac vice admission in
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progress




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                         CERTIFICATE OF SERVICE

      I hereby certify that I have on this day served counsel for the opposing party

with a copy of this Explanatory Notice Regarding Omitted Exhibits by U.S. First

Class Mail with sufficient postage thereon to insure delivery, and by email

addressed to:

      Hamilton P. Fox
      Jason R. Horrell
      D.C. Bar
      Building A, Room 117
      515 5th Street NW
      Washington DC 20001
      foxp@dcodc.org

      This this 8 day of September, 2022.


                                      /s/ Charles Burnham
                                      Charles Burnham
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